                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:                                                        Case No. 13-47986

RANDY K. DZIERZAWSKI,                                         Chapter 7

            Debtor.                                           Judge Thomas J. Tucker
______________________________________/

 OPINION REGARDING VULPINA LLC’S MOTION FOR DERIVATIVE STANDING
             TO PURSUE FRAUDULENT TRANSFER CLAIMS

I. Introduction

         This case is before the Court on a motion by creditor Vulpina LLC (“Vulpina”) entitled

“Vulpina LLC’S Motion for Derivative Standing To Pursue Fraudulent Transfer Claims”

(Docket # 175, the “Motion”). Vulpina seeks an order granting it derivative standing to pursue,

on behalf of the bankruptcy estate, fraudulent transfer claims against Kimberly Dzierzawski, the

Debtor’s wife, relating to the Debtor’s purported prepetition transfer of 99% of his 100%

membership interest in Vinifera Wine Company, LLC.

         The Debtor and Kimberly Dzierzawski filed objections to the Motion. The Chapter 7

Trustee did not object to the Motion, but rather, supports the Motion. In fact, the Trustee entered

into a stipulation with Vulpina on August 11, 2014, regarding terms and conditions of Vulpina’s

anticipated prosecution of the claims on behalf of the bankruptcy estate.1

         The Court held a hearing on the Motion on September 17, 2014, and took the Motion

under advisement. For the following reasons, the Court will grant the Motion.




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         See “Stipulation Between Trustee Homer W. McClarty and Vulpina LLC Regarding Vulpina’s
Motion for Derivative Standing To Bring Certain Fraudulent Transfer Claims” (Ex. 7 to Docket # 183).



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II. Jurisdiction

       This Court has subject matter jurisdiction over this contested matter under 28 U.S.C.

§§ 1334(b), 157(a) and 157(b)(1), and Local Rule 83.50(a)(E.D. Mich.). This is a core

proceeding under 28 U.S.C. §§ 157(b)(2)(A) and 157(b)(2)(O).

       This proceeding also is “core” because it falls within the definition of a proceeding

“arising in” a case under title 11, within the meaning of 28 U.S.C. § 1334(b). Matters falling

within this category in § 1334(b) are deemed to be core proceedings. See Allard v. Coenen (In re

Trans-Industries, Inc.), 419 B.R. 21, 27 (Bankr. E.D. Mich. 2009). This is a proceeding “arising

in” a case under title 11, because it is a proceeding that “by [its] very nature, could arise only in

bankruptcy cases.” See id. at 27.

III. Discussion

       A. The Sixth Circuit requirements for derivative standing in a Chapter 7 case

       In Hyundai Translead, Inc. v. Jackson Truck & Trailer Repair, Inc. (In re Trailer Source,

Inc.), 555 F.3d 231, 243-45 (6th Cir. 2009), the United States Court of Appeals for the Sixth

Circuit held that a bankruptcy court may grant standing to a creditor in a Chapter 7 case to pursue

claims on behalf of the bankruptcy estate, when the creditor meets the requirements for

derivative standing set forth in Canadian Pac. Forest Prods. Ltd. v. J.D. Irving, Ltd. (In re The

Gibson Group, Inc.), 66 F.3d 1436 (6th Cir. 1995). In Gibson Group, a Chapter 11 case, the

Sixth Circuit held that the following requirements must be met for such standing to be granted:

               [A] bankruptcy court may permit a single creditor in a Chapter 11
               case to initiate an action to avoid a preferential or fraudulent
               transfer instead of the debtor-in-possession if the creditor: 1) has
               alleged a colorable claim that would benefit the estate, if
               successful, based on a cost-benefit analysis performed by the


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               bankruptcy court; 2) has made a demand on the
               debtor-in-possession to file the avoidance action; 3) the
               demand has been refused; and, 4) the refusal is unjustified in
               light of the statutory obligations and fiduciary duties of the
               debtor-in-possession in a Chapter 11 reorganization. We also
               hold that, while the creditor has the initial burden to allege facts
               showing that the refusal to file suit is “unjustified,” the
               debtor-in-possession must rebut the presumption if the creditor
               carries its initial burden. Contrary to the district court's view, we
               believe that a creditor need not plead facts alleging the
               debtor-in-possession's reason or motive for the inaction, but may
               meet its burden to allege unjustified inaction through notice
               pleading by alleging the existence of an unpursued colorable claim
               that would benefit the estate. See Fed.R.Civ.P. 8; Fed.R.Bankr.P.
               7008 (making Fed.R.Civ.P. 8 applicable in bankruptcy adversary
               proceedings). If the debtor-in-possession gives no reason for its
               inaction when a demand is made, the bankruptcy court may
               presume that its inaction is an abuse of discretion (“unjustified”) if
               the complaint alleges a colorable claim.

Gibson Group, 66 F.3d at 1438-39 (emphasis added). Later in its opinion, the Sixth Circuit

stated the fourth of the requirements quoted above in slightly different words:

               In conclusion, we hold that a creditor or creditors' committee may
               have derivative standing to initiate an avoidance action where: 1) a
               demand has been made upon the statutorily authorized party to take
               action; 2) the demand is declined; 3) a colorable claim that would
               benefit the estate if successful exists, based on a cost-benefit
               analysis performed by the court, and 4) the inaction is an abuse of
               discretion (“unjustified”) in light of the debtor-in-possession's
               duties in a Chapter 11 case. A creditor has met its burden to show
               standing to file an avoidance action if it has fulfilled the first three
               requirements and the trustee or debtor-in-possession declined to
               take action without stating a reason. The burden then shifts to the
               debtor-in-possession to establish, by a preponderance of the
               evidence, that its reason for not acting is justified.

Id. at 1446 (emphasis added). Thus, the court equated “unjustified” with and “abuse of

discretion” in this context.




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       Later, in Trailer Source, the Sixth Circuit summarized the Gibson Group requirements

for derivative standing by stating Gibson Group’s “colorable claim . . .” requirement in a

different way:

                 In Gibson Group, we held that a party moving for derivative
                 standing must show that: (1) a demand was made on the trustee (or
                 debtor-in-possession) to act, (2) the trustee (or
                 debtor-in-possession) declined, (3) a colorable claim exists that
                 would benefit the estate, and (4) the trustee's (or
                 debtor-in-possession's) inaction was an abuse of discretion. 66
                 F.3d at 1446.

Trailer Source, 555 F.3d at 244-45 (emphasis added). Thus, the difference is that Gibson Group

stated the “colorable claim” requirement as this: “the creditor . . . has alleged a colorable claim

that would benefit the estate, if successful, based on a cost-benefit analysis performed by the

bankruptcy court” or “a colorable claim that would benefit the estate if successful exists, based

on a cost-benefit analysis performed by the court;” while Trailer Source stated this requirement

simply as “a colorable claim exists that would benefit the estate.”

       Despite this wording difference, it is clear that the Sixth Circuit did not intend in Trailer

Source to change the “colorable claim . . .” requirement of Gibson Group. Rather, Trailer

Source simply held that the Gibson Group requirements apply in Chapter 7 cases as well as in

Chapter 11 cases. And the Trailer Source’s summary of the Gibson Group requirements, quoted

above, was not intended to change those requirements.

       For these reasons, the Court will decide Vulpina’s Motion by applying the Gibson Group

requirements. But the Court’s decision is informed by what Trailer Source had to say about the

requirements in the Chapter 7 context.




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         B. Application of the requirements

         In this case, it is undisputed that Vulpina made a demand that the Chapter 7 Trustee to

file and pursue the fraudulent transfer claims that Vulpina wants to pursue against Kimberly

Dzierzawski, and that the Trustee declined the demand. So those two Gibson Group

requirements are met.

         The dispute concerns the other requirements. The Debtor and Kimberly Dzierzawski (the

“objecting parties”) argue that Vulpina has not satisfied them. The Court disagrees, as discussed

below.

         1. Vulpina “has alleged a colorable claim that would benefit the estate, if
            successful, based on a cost-benefit analysis performed by [this] court.”

         The Court concludes that Vulpina has satisfied the Gibson Group requirement of

“alleg[ing] a colorable claim that would benefit the estate, if successful, based on a cost-benefit

analysis performed by the bankruptcy court.”

         a. “Colorable claim”

         In determining whether a claim is “colorable” under Trailer Source, and Gibson Group,

the Court must “look to the ‘face of the complaint.’” See Trailer Source, 555 F.3d at 245, citing

Gibson Group, 66 F.3d at 1439. For example, in Gibson Group the Sixth Circuit concluded that

the Chapter 11 creditor committee’s proposed complaint, seeking to avoid pre-petition transfers

as preferential and fraudulent, stated a colorable claim under 11 U.S.C. §§ 547 and 548, “[o]n the

face of the complaint,” without requiring or considering whether evidence supported the claims

stated in the complaint. Gibson Group, 66 F.3d at 1439. And other courts have held that a

creditor’s claims are “colorable” in this context if they would survive a motion to dismiss under



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Fed.R.Civ.P. 12(b)(6). See, e.g., PW Enterprises, Inc. v. North Dakota Racing Comm’n. (In re

Racing Services, Inc.), 540 F.3d 892, 900 (8th Cir. 2008) (noting that “in most cases creditors

will readily satisfy the colorable claim requirement, and that “a creditor’s claims are colorable if

they would survive a motion to dismiss.”)

        In this case, Vulpina attached to its Motion a copy of the First Amended Complaint it

filed in the United States District Court for the Eastern District of Michigan, in an action that

Vulpina filed before the Debtor filed this bankruptcy case. (Case No. 4:12-cv-15688). That

detailed complaint alleged in three counts that Debtor’s transfer of 99% of his interest in Vinifera

Wine Co. to Kimberly Dzierzawski was a fraudulent transfer, avoidable under Michigan’s

version of the Uniform Fraudulent Transfer Act, Mich. Comp. Laws §§ 566.34 and 566.35.2 The

Court concludes that the claims stated in that First Amended Complaint do state plausible claims

for relief that would survive a motion to dismiss under Fed.R.Civ.P. 12(b)(6). See generally

Wahrman v. Bajas (In re Bajas), 443 B.R. 768, 770-72 (Bankr. E.D. Mich. 2011)(discussing

Rule 12(b)(6) standards under the U.S. Supreme Court’s decisions in Bell Atlantic Corp. v.

Twombly, 550 U.S. 544 (2007) and Ashcroft v. Iqbal, 556 U.S. 662 (2009)).3

        Debtor and Kimberly Dzierzawski, in objecting to Vulpina’s Motion, do not contend

otherwise. Rather, they argue that facts exist which would defeat Vulpina’s proposed avoidance


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            Docket # 175, Exh. 4.
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          During the hearing on the Motion, counsel for Vulpina also stated that if granted derivative
standing, Vulpina wishes to allege, as an alternative claim to its fraudulent transfer claims, that in fact the
Debtor did not transfer his ownership interest in Vinifera Wine Co. to Kimberly Dzierzawski, so that the
membership interest has at all times been property of the bankruptcy estate in this bankruptcy case.
Vulpina did not present any draft complaint alleging this, but counsel’s description of this claim during
the hearing, if put on paper in a complaint, would easily satisfy the requirement of pleading of plausible
claim that would survive a motion to dismiss.

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claims, if Vulpina were allowed to pursue those claims. Vulpina disputes this. And it appears,

from the evidence presented and argued by the parties in connection with Vulpina’s Motion, that

Vulpina’s proposed claims against Kimberly Dzierzawski will be vigorously contested. None of

this, however, is relevant to whether Vulpina has alleged a “colorable claim” within the meaning

of Trailer Source and Gibson Group. Vulpina need not establish that the colorable claims that it

pleads are likely to prevail ultimately, in order to meet the “colorable claim” requirement.

        b. Cost-benefit analysis

        The next Gibson Group requirement is that the “colorable claim” that the creditor has

alleged “would benefit the estate if successful, based on a cost-benefit analysis performed by the

bankruptcy court. Gibson Group, 66 F.3d at 1438-39, 1446. The clear wording of this

requirement, as stated repeatedly by the Sixth Circuit in Gibson Group, requires this Court to

assume that Vulpina’s colorable claims will be “successful,” and then to determine, based on a

cost-benefit analysis, whether such successful claims “would benefit the estate” in the bankruptcy

case.

        If Vulpina’s claims were to succeed, the result would be either of the following, or a

combination of both of the following: (1) a money judgment against Kimberly Dzierzawski for

the value of the Debtor’s 99% membership interest in Vinifera Wine Co. as of the time of the

transfer; and/or (2) avoidance of the transfer, resulting in that membership interest becoming

property of the bankruptcy estate, which the Chapter 7 Trustee could liquidate for the benefit of

the estate and its creditors. See Mich. Comp. Laws §§ 566.37(1)(a); 566.38(2)(a). The first of

these forms of relief would benefit the bankruptcy estate if enough of the money judgment

against Kimberly Dzierzawski could be collected from her to exceed the fees and expenses of


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obtaining that result. The second of these forms of relief would benefit the bankruptcy estate if

the membership interest in Vinifera Wine Co. has value, exceeding the fees and expenses of

obtaining those assets, that the Chapter 7 Trustee could realize. The Trustee might realize such

value by selling the membership interest, or by using the bankruptcy estate’s then-100%

membership interest in Vinifera Wine Co. to liquidate and wind down that LLC in a way that

would leave money for the bankruptcy estate.

        The evidence and argument by the parties is rather scant on the collectibility of Kimberly

Dziewzawski and the value of Vinifera Wine Co. But the Court concludes that it need not

require further evidence, or hold an evidentiary hearing, to determine these issues. That is

because the fee arrangement under which Vulpina proposes to prosecute the claims against

Kimberly Dzierzawski, described below, is such that it cannot result in any net cost or burden to

the bankruptcy estate. Rather, it cannot possibly result in anything other than either a net

financial gain for the bankruptcy estate, or at worst, no financial effect, positive or negative, on

the estate.

        Vulpina is a judgment creditor of the Debtor, holding an unsecured, nonpriority claim as

of the bankruptcy petition date of just over $1 million ($1,060,258.69).4 Vulpina holds over 99%

of the allowed claims in this bankruptcy case by dollar amount, excluding administrative

expenses. Before Vulpina filed its Motion, it entered into a written stipulation with the Chapter 7

Trustee, on August 11, 2014, in which these parties agreed to certain terms and conditions for

Vulpina’s derivative standing. The last of these conditions concerns the fees and expenses




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            See Vulpina’s Proof of Claim, filed March 12, 2014 (Claim No. 4-1), at 1.

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Vulpina would incur in prosecuting the claims, if granted derivative standing. The stipulation

states, in pertinent part, the following:

                8. Prior to filing its motion for derivative standing, Vulpina sought
                concurrence from Trustee's counsel, who informed Vulpina that the
                Trustee has no objection to Vulpina's motion for derivative
                standing.

                9. Assuming that the bankruptcy court grants Vulpina's motion for
                derivative standing, counsel for Vulpina and the Trustee have
                agreed that Vulpina will bring its claims according to the following
                basic framework:

                       a. Vulpina will promptly file an adversary complaint in the
                form and substance substantially similar to the complaint filed in
                the Fraudulent Transfer Action. See Ex. A. Vulpina agrees to
                consider any additional fraudulent transfer claims identified by the
                Trustee.

                         b. Throughout the duration of the litigation, the Trustee will
                retain the right to monitor Vulpina's prosecution of the claims, and
                Vulpina agrees to consult the Trustee on all material milestones in
                the litigation, including review of and consent to any settlement
                proposal before the filing of a Rule 9019 motion. If a dispute arises
                between Vulpina and the Trustee concerning actions taken or
                proposed to be taken by Vulpina, or should the Trustee reasonably
                believe that Vulpina is failing to adequately prosecute the
                Fraudulent Transfer Action claims, the Trustee shall have the right
                to bring such matters to the attention of the Bankruptcy Court for
                adjudication.

                        c. In addition, the Trustee reserves the right to take any
                action that he reasonably believes is appropriate as it relates to
                Vulpina's litigation of the Fraudulent Transfer Action claims. For
                example, the Trustee reserves the right to seek approval of a
                settlement of Vulpina's Fraudulent Transfer Action claims if a
                settlement offer is made that the Trustee believes is reasonable, or
                to support a motion to dismiss the bankruptcy case if such a motion
                is brought by the Debtor.

                      d. If Vulpina succeeds in its prosecution of its
                Fraudulent Transfer Action claims, the Trustee agrees to


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                 permit Vulpina to seek allowance of an administrative expense
                 claim for its reasonable legal fees pursuant to section
                 503(b)(3)(B) of the Bankruptcy Code. The Trustee also agrees
                 not to object to the allowance of Vulpina's administrative
                 expense claims. Vulpina agrees that its administrative expense
                 claims shall be subordinate to administrative expense claims of
                 the Trustee and his counsel for legal fees and expenses.
                 However, this subordination will only apply to the following:
                 (i) fees and expenses the Trustee's counsel incurs through the
                 day Vulpina files its motion for derivative standing to bring the
                 claims in the Fraudulent Transfer Action; and (ii) fees and
                 expenses the Trustee incurs during the pendency of the
                 bankruptcy case.5

       During the hearing on the Motion, counsel for Vulpina clarified, in response to questions

from the Court, that if granted derivative standing, Vulpina will bear the attorney fees and

expenses incurred in prosecuting the claims, subject to its right to seek reimbursement for such

attorneys fees and expenses from the bankruptcy estate, but only on the following basis:

       •     Under, and based only on, 11 U.S.C. §§ 503(b)(3)(B) and 503(b)(4);6 and

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           Docket # 183, Exh. 7, at ¶¶ 8,9 (emphasis added).
       6
           These subsections § 503 of the Bankruptcy Code state:

                 (b) After notice and a hearing, there shall be allowed administrative
                 expenses, other than claims allowed under section 502(f) of this title,
                 including
                 ...

                 (3) the actual, necessary expenses, other than compensation and
                 reimbursement specified in paragraph (4) of this subsection, incurred by
                 ...

                 (B) a creditor that recovers, after the court's approval, for the benefit of
                 the estate any property transferred or concealed by the debtor;
                 ...

                 (4) reasonable compensation for professional services rendered by an
                 attorney or an accountant of an entity whose expense is allowable under
                 subparagraph (A), (B), (C), (D), or (E) of paragraph (3) of this
                 subsection, based on the time, the nature, the extent, and the value of

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       •   Such fees and expenses may not exceed the amount of funds that the bankruptcy
           estate actually recovers because of Vulpina’s prosecution of the claims.

       Given these terms, it is clear that granting derivative standing to Vulpina as requested

cannot result in any net loss or net cost to the bankruptcy estate. Rather, such derivative standing

can possibly result only in a net financial benefit to the bankruptcy estate, or at worst, no net

financial effect, positive or negative. From the perspective of the bankruptcy estate, therefore,

granting derivative standing to Vulpina will give the estate a no-risk chance of recovering

additional money.

       The Court concludes that because of this, the Gibson Group benefit-to-the-estate

requirement for derivative standing is satisfied, without more. The Court concludes that the

Sixth Circuit would agree with this conclusion, based upon what that court stated in Gibson

Group and Trailer Source, and also because the Sixth Circuit would agree with the following

holding of the Second Circuit, in the case of Unsecured Creditors Committee v. Noyes (In re STN

Enterprises), 779 F.2d 901, 905-06 (2nd Cir. 1985). The Second Circuit’s test for derivative

standing is somewhat different than that of the Sixth Circuit. In STN Enterprises, the Second

Circuit held that granting derivative standing to a creditors committee in a Chapter 11 case

requires the bankruptcy court to examine, “on affidavit and other submission, by evidentiary

hearing or otherwise, whether an action asserting such claim(s) is likely to benefit the

reorganization estate.” Id. at 905 (citation omitted). In discussing this requirement, later in its

opinion, the Second Circuit held as follows:


                such services, and the cost of comparable services other than in a case
                under this title, and reimbursement for actual, necessary expenses
                incurred by such attorney or accountant;

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                We do not mean to suggest that the court need undertake a
                mini-trial, cf. Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 177-78,
                94 S.Ct. 2140, 2152, 40 L.Ed.2d 732 (197 4) (no mini-trial in class
                actions), to determine likelihood of success in such a suit or the
                attendant fees and expenses involved. But it should assure itself
                that there is a sufficient likelihood of success to justify the
                anticipated delay and expense to the bankruptcy estate that the
                initiation and continuation of litigation will likely produce. Of
                course, if the creditors' committee represents that its fee
                arrangement with its attorney will in no event impose a net
                burden on the bankruptcy estate (because the committee will
                pay the fee and seek reimbursement only out of any recovery),
                then the preliminary inquiry can be limited to ascertaining
                whether the proposed lawsuit has a colorable basis on which to
                proceed.

Id. at 905-06 (emphasis added).

        Under this reasoning, the cost-benefit analysis is greatly simplified, and the benefit-to-

the-estate requirement is satisfied, if the creditor simply alleges a colorable claim. So it is in this

case.

        2. The Trustee’s refusal to file the claims alleged by Vulpina is “unjustified,” as the
           Sixth Circuit has defined that concept in Trailer Source

        The final requirement for granting Vulpina derivative standing, under Gibson Group and

Trailer Source, is that the Trustee’s refusal to file the claims alleged by Vulpina against the

bankruptcy estate was “unjustified.” During the Motion hearing, counsel for the Chapter 7

Trustee explained the Trustee’s reasons for refusing Vulpina’s demand to file the claims against

Kimberly Dzierzawski. Trustee’s counsel indicated that a major reason was that the bankruptcy

estate does not have the funds to finance an investigation of the claims and prosecute a lawsuit.

Trustee’s counsel indicated that the estate has only about $12,000.00 in funds, which is not

enough even to pay existing administrative expenses in this Chapter 7 case. For these reasons,



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and because Vulpina is such an large creditor in this case, the Trustee is willing to consent to

Vulpina’s derivative standing to prosecute the claims.

       In approving the use of derivative standing in Chapter 7 cases, the Sixth Circuit in Trailer

Source clearly indicated that when a Chapter 7 Trustee’s refusal to pursue a claim is because

there are inadequate funds in the bankruptcy estate to pay litigation fees and expenses, that

refusal can be viewed as “unjustified”:

                [T]here is circuit precedent allowing derivative standing in Chapter
                7 proceedings, albeit in a pre-Bankruptcy Code case. William B.
                Tanner Co. v. United States (In re Automated Bus. Sys., Inc.), 642
                F.2d 200 (6th Cir.1981). In Automated Business Systems, a
                pre-Bankruptcy Reform Act of 1978 case, we held that a creditor
                had derivative standing to pursue an avoidance action when the
                trustee in Chapter 7 liquidation proceedings refused to bring an
                action because of a lack of funds in the estate. Id. at 201-02. We
                noted there that the need for derivative standing could be
                particularly great in the context of Chapter 7 proceedings where
                there may be "no funds remain[ing] to divide among creditors or to
                finance a suit to set aside a fraudulent conveyance." Id. at 202.
                ...

                There are also substantial policy reasons for allowing derivative
                standing in Chapter 7 proceedings. As we noted in Automated
                Business Systems, in contrast to Chapter 11 reorganization
                proceedings, in Chapter 7 liquidation proceedings there are often
                "no funds remain[ing] to divide among creditors or to finance a suit
                to set aside a fraudulent conveyance." 642 F.2d at 202.
                Consequently, a trustee in Chapter 7 proceedings may decline to
                pursue meritorious and potentially sizeable claims simply because
                there are inadequate funds in the estate to pay litigation expenses.
                ...

                [T]he record [in this case] indicates that the trustee declined to
                pursue apparently colorable — and potentially sizeable — claims
                in large part because of a lack of available funds to finance an
                investigation and possible litigation. Just as conflicts of interest
                may lead to underenforcement of avoidance claims by
                debtors-in-possession in Chapter 11 proceedings, a lack of


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                available funds may lead to underenforcement by trustees in
                Chapter 7 proceedings. In this situation, we believe that
                bankruptcy courts should be able to authorize derivative
                standing for creditors willing and able to prosecute colorable
                claims that may enhance the value of the bankruptcy estate in
                Chapter 7 proceedings.

Trailer Source, 555 F.3d at 243-44 (emphasis added).

        Based on the reasoning in Trailer Source quoted above, this Court concludes that the

Chapter 7 Trustee’s refusal in this case to file the claims against Kimberly Dzierzawski, largely

because of a lack of funds, is “unjustified.”7

        The Court notes that at least two circuits outside the Sixth Circuit apply a somewhat

different test for granting derivative standing in a Chapter 7 case, when the Trustee consents to

the derivative standing. Those circuits have held that when the debtor-in-possession or the

trustee consents to the creditor’s standing, the creditor still must show that the proposed action is

both “necessary and beneficial to the fair and efficient resolution of [the bankruptcy

proceedings]’,” and is “in the best interest of the bankruptcy estate.” Racing Services, Inc., 540

F.3d at 902 (italics in original)(citing Commodore Int’l Ltd. v. Gould (In re Commodore Int’l

Ltd.), 262 F.3d 96, 100 (2nd Cir. 2001)).

        To date, however, the Sixth Circuit has not adopted these requirements. Rather, the Sixth

Circuit has applied only the Gibson Group requirements discussed in this opinion, above, and the

Court is bound by those requirements. In any event, event if the Court were bound to apply the




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          The Trustee’s counsel also stated in the hearing, in response to a question by the Court, that the
Trustee has not tried to find counsel willing to represent the bankruptcy estate to prosecute the claims on
a contingent fee basis. This fact, if anything, only tends to support the Court’s conclusion that the
Trustee’s refusal to file and prosecute the claims is “unjustified.”

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other circuits’ requirements for consensual derivative standing, quoted above, the Court would

find that those requirements are met in this case.

IV. Conclusion

       For the reasons stated in this opinion, the Court concludes that Vulpina has satisfied the

applicable requirements for this Court to grant it the derivative standing it requests. The Court

will enter a separate order granting Vulpina’s Motion, on the terms stated in the stipulation

between the Trustee and Vulpina, quoted above, and subject to the fee and expense

reimbursement terms stated above.


Signed on September 26, 2014                          /s/ Thomas J. Tucker
                                                      Thomas J. Tucker
                                                      United States Bankruptcy Judge




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